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1    LAW OFFICES OF THOMAS M. CONNELLY
2
     Thomas M. Connelly (Az. Bar. No. 012987)
     2425 East Camelback Road, Suite 880
3    Phoenix, Arizona 85016
     Phone: (602) 957-1993
4
     Facsimile: (602) 957-2137
5    Tconnelly2425@aol.com
6
     LAW OFFICES OF THOMAS J. MARLOWE
7    Thomas J. Marlowe (Az. Bar No. 016640)
     2425 East Camelback Road, Suite 880
8
     Phoenix, Arizona 85016
9    Phone: (602) 957-1993
     Facsimile: (602) 957-2137
10
     Tmarlowe2425@outlook.com
11   Attorneys for Bardwell Defendants
12
                         IN THE UNITED STATES DISTRICT COURT
13

14                                 DISTRICT OF ARIZONA

15   Ronald H. Pratte,                               Case No.: 2:19-cv-00239-PHX-GMS
16
                  Plaintiff,
17                                                   NOTICE OF SERVICE OF
     vs.
18                                                   DEFENDANTS’ MANDATORY
                                                     INITIAL DISCOVERY RESPONSES
19   Jeffrey Bardwell and Fanny F. Bardwell,
     husband and wife,
20
                  Defendants.
21

22         Defendants Jeffrey Bardwell and Fanny F. Bardwell, by and through their
23
     attorneys of record, hereby provide Notice of Service to the court of Defendants’
24
     Mandatory Initial Discovery Responses.
25

26                Dated this 24th of April, 2019.

27                                             By: /s/ Thomas J. Marlowe
28                                             LAW OFFICES OF THOMAS J. MARLOWE
                                               Attorney for Defendant


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              Case 2:19-cv-00239-GMS Document 15 Filed 04/24/19 Page 2 of 2



1                                 CERTIFICATE OF SERVICE
2
             I, Thomas J. Marlowe, hereby certify that on April 24, 2019, I electronically
3

4
     transmitted the foregoing document to the Clerk’s Office using the ECF system for filing

5    and transmittal of a Notice of Electronic Filing to the following ECF registrant(s) in this
6
     case.
7
     By: /s/ Thomas J. Marlowe
8

9    Gregory B. Collins
     Zachary R. Fort
10
     KERCSMAR & FELTUS PLLC
11   7150 East Camelback Road, Suite 285
     Scottsdale, Arizona 85251
12   gbc@kflawaz.com
13   zrf@kflawaz.com

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